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November 24, 2020

VIA ECF & EMAIL
Hon. John P. Cronan, U.S.D.J.
United States Courthouse
550 Pearl Street
New York, NY 10007
Email: CronanNYSDChambers@nysd.uscourts.gov

       Re: Valentini v. Group Health Inc., et al., No. 20 Civ. 09526

Dear Judge Cronan:

We are in receipt of Defendants’ counsel’s letter dated November 24, 2020 (Doc. #8) requesting
an extension to answer the Complaint, and do not object.

We wish everyone a safe and happy holiday.

                                                        Sincerely,

                                                        /s/ Steve Cohen

                                                        Steve Cohen
